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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW MEXICO

SWEPI LP, a Delaware                       )
Limited Partnership,                       )
                                           )
Plaintiff                                  )
                                           )
v.                                         )    Case No.: 1:14:cv-00035
                                           )    JB/SCY
MORA COUNTY, NEW MEXICO;                   )
MORA COUNTY BOARD OF COUNTY                )
COMMISSIONERS, PAULA A. GARCIA,            )
Mora County Commissioner;                  )
JOHN P. OLIVAS, Mora County                )
Commissioner; and ALFONSO J. GRIEGO,       )
Mora County Commissioner,                  )
                                           )
Defendants                                 )
                                           )
and                                        )
                                           )
LA MERCED DE SANTA GETRUDIS DE LO          )
DE MORA, a Land Grant; and                 )
JACOBO PACHECO, an individual,             )
                                           )
Intervenor Defendants                      )




INTERVENOR DDEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
                     MOTION TO DISMISS




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                           I.     SUMMARY OF THE ARGUMENT

       The right of local, community self-government is a fundamental, individual political right

– exercised collectively – of people to govern the local communities in which they reside.

       The right includes three component rights – first, the right to a system of government

within the local community that is controlled by a majority of its citizens; second, the right to a

system of government within the local community that secures and protects the civil and political

rights of every person in the community; and third, the right to alter or abolish the system of

local government if it infringes those component rights.

       The right of local, community self-government is inherent and inalienable. It derives

necessarily from the fundamental principle that all political power is inherent in the people, is

exercised by them for their benefit, and is subject to their control. The right is secured by the

New Mexico Constitution, the American Declaration of Independence, and the United States

Constitution. Because the right is inherent and inalienable, no government can define, diminish,

or otherwise control it.

       State governments have created a variety of local governmental bodies, both incorporated

and unincorporated, for administration of state policy locally, and for conduct of municipal

affairs. While States typically delegate specific governmental powers to such local governments

- and limit their powers otherwise - state authorized powers of such local governments are

distinct and apart from the people’s right of local, community self-government. The peoples’

right is not dependent upon state delegation, and so, cannot be diminished by limitations placed

on local governments by other governments.

       This means that local communities, when exercising the people’s right of local,

community self-government, are not subject to constraints on local lawmaking imposed by state




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and federal governments. Such constraints include the conferral of constitutional rights onto

corporations, when those “rights” compete with people’s civil and political rights.



                     II.     FACTUAL AND PROCEDURAL HISTORY

       Plaintiff Swepi, filed their Complaint in this action on January 10, 2014, and the County

of Mora was served on January 27, 2014. Doc.1 Defendant Mora County requested, and was

granted, a three week extension to file an Answer, and that Answer had not been filed when

Intervenors, the Mora Land Grant, and Mora citizen Jacobo Pacheco filed their Motion for

Intervention on and their Memorandum in support on March 6, 2014. Doc. 6. The Plaintiff

opposed the Intervention, but the Defendants did not. On March 20, 2014, the Plaintiff filed his

Response in Opposition to Intervention. Doc. 12. On April 4, 2014 the Intervenors Filed their

Reply Brief. Doc.13 On November 3rd this Court heard oral argument on the Intervention

Motion. Doc.54 and on November 18th Intervenors filed their Supplemental Argument in

Support of Intervention. Doc. 56. On Dec. 5, 2014 this Court entered its Order allowing

Intervention. Doc. 59.

       On Dec. 15th, 2014 the former Intervenors and now Defendants Mora Land Grant and

Mora citizen Jacobo Pacheco filed their Motion to Dismiss (Doc. 66). At oral argument on Dec.

19th the Court asked counsel if he was ready to argue the Motion to Dismiss and Counsel

indicated he wanted additional time and counsel’s best recollection is that he expressed an intent

to file a Brief in support of the Motion to Dismiss prior it to being argued on Feb. 4, 2015, the

date set by the Court. (Counsel does not have the transcript of that hearing.) Counsel has been

working on this Brief since the Court set the hearing date for Feb. 4, 2015 and intended to file

the Brief as soon as possible after the court date. On January 2, 2015 the Defendants’ filed their




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Response to the Intervenors Motion to Dismiss Doc .71 arguing essentially that the Motion

should be denied because no authority was attached.

       Jacobo Pacheco and Mora Land Grant are asking this Court in the Motion to Exceed

Page Limitations to file this Memorandum in Support of their Motion to Dismiss in excess of 24

pages and raising issues not directly included in the Plaintiff’s Response. Doc. 72

                        III. STANDARD FOR MOTION TO DISMISS

       A Motion to Dismiss should be granted when there is no material issue of fact and the

party is entitled to judgment as a matter of law. Park Univ. Enters. V. Am Cas. Co., 442 F.3d

1239, 1244 (10th Cir. 2006)

       In the present instance Plaintiff is basing his claim on his status as a corporation with

constitutional rights. Defendants assert and we must assume for purposes of this Motion that

Plaintiff’s allegations are taken as true and that Plaintiff is a corporation with valid and valuable

leases in Mora County, and has an intent to develop those leases, and but for the challenged

Ordinance it would be utilizing those leases by drilling in Mora County. The people of Mora

County have the inherent and constitutional right of local, community, self government including

the right to pass reasonable laws to protect their air, land, water, environment, and health and

safety. They have passed the “Mora County Community Water Rights and Local Self-

Government Ordinance (“Ordinance”) based on these rights. The Complaint fails because the

actions sought to be carried out by Plaintiff and on which his Complaint is based violate this

legally valid and constitutional ordinance. There are no factual issues in dispute for purposes of

this Motion to Dismiss and the defendants have established as a matter of law that their Motion

should be granted.

       IV.    The Intervenors are entitled to dismissal of this action because the people of
       Mora County possess the inherent and constitutional right of local, community self-



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          government, and the Plaintiff SWEPI’s assertion of corporate constitutional
          “rights” violates that right.

          The people of Mora County’s natural, inherent, and inalienable right of local, community

self-government is embedded in, and secured by, our constitutional structure.1 See Indiana ex

rel. Holt v. Denny, 118 Ind. 449, 457-75, 21 N.E. 274 (1889) (recognizing an inherent right of

local self-government embedded in the constitutional structure). It is secured by the history of

the founding of the United States, the American Declaration of Independence, the U.S.

Constitution, the New Mexico Constitution, and the Mora County Ordinance.

          The constitutional right of the people of Mora County to govern themselves is infringed

by the existence and enforcement of corporate constitutional “rights.” Because SWEPI seeks to

enforce that doctrine in ways that violate the constitutional right of the people of Mora County to

local, community self-government, the Intervenors are entitled to dismissal of this action.

                  A. Community self-government is the well-settled foundation of the
                  American system of constitutional law.

          The Supreme Court has declared that “when considering whether a right is a fundamental

right, the court [must] look to whether it is a right “deeply rooted in this nation’s history and

tradition.” Griswold v. Connecticut, 381 U.S. 479, 493 (1965) (Brennan, J., concurring) (courts

look to “traditions and (collective) conscience of our people to determine whether a principle is

so rooted” there “as to be ranked as fundamental.”) (citations omitted); Moore v. City of East

Cleveland, 431 U.S. 494, 503 (1997) (“Appropriate limits on substantive due process come not

from drawing arbitrary lines but rather from careful ‘respect for the teachings of history (and),

solid recognition of the basic values that underlie our society’”) (quoting Griswold, 381 U.S. at

501 (Harlan, J., concurring)).



1
    This section of the brief contains a lengthy historical discussion atypical of most court filings.

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       The right of community self-governance is deeply rooted in our nation’s history and

tradition. Communities within the early American colonies were founded on the people’s

authority to govern themselves. From the Mayflower Compact to the conflagration of the

American Revolutionary War and the ratification of the United States Constitution, no principle

has been more seminal than that of the people’s sovereignty, and no right more fundamental than

the right of local, community self-government. Cf. Washington v. Glucksberg, 521 U.S. 702, 721

(1997) (declaring that “[o]ur Nation’s history, legal traditions, and practices thus provide the

crucial guideposts for responsible decisionmaking” that direct the court’s recognition and

enforcement of constitutional guarantees) (citation omitted).

       The colonists’ struggle with British rule illustrates how community self-government took

shape as the foundation of the American system of constitutional law. The colonists’ efforts

culminated in the Declaration of Independence, which codified the principles of local self-

government that had been forged by American settlements since the 1600s. In adopting the

Declaration of Independence, in 1776, the Second Continental Congress made clear that a

government’s power originates from the people, and that the people have the right to alter their

system of government to protect their “Life, Liberty . . . Safety and Happiness”:

      We hold these truths to be self-evident, that all men are created equal, that they are
      endowed by their Creator with certain unalienable Rights, that among these are
      Life, Liberty and the pursuit of Happiness. — That to secure these rights,
      Governments are instituted among Men, deriving their just powers from the
      consent of the governed, — That whenever any Form of Government becomes
      destructive of these ends, it is the Right of the People to alter or to abolish it, and
      to institute new Government, laying its foundation on such principles and
      organizing its powers in such form, as to them shall seem most likely to effect their
      Safety and Happiness.
AMER. DECL.OF IND. at ¶ 2 (emphasis added).
The violation of this right, enumerated in the Declaration as the first grievance against the British

Empire, justifying severance from its rule, read “HE has refused his Assent to Laws, the most



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wholesome and necessary for the public Good.” Id. at ¶ 3. Since there were neither states, nor a

national government at the time, the grievance constitutes a complaint against the denial of the

colonists’ right to local, community self-government.

                       1. Community self-government was the foundation of the early
                          American colonies.

       The concept of community self-government in America dates back to the Mayflower

Compact, adopted in 1620, over a hundred and fifty years before Thomas Jefferson codified the

principles of local self-government in the national Declaration of Independence.2 The Mayflower

Compact was the first constitution of its kind to be written by the American colonists, and it set

the stage for an understanding of government that represented a dramatic departure from

European rule. In one paragraph, the original colonists dismantled the old system of

government—based on royal authority—and forged a new one based purely on the political

sovereignty of the people themselves. They declared:

       [W]e covenant and combine ourselves together into a civil body politic, for our
       better ordering, and preservation, and furtherance of the ends aforesaid; and by
       virtue hereof to enact, constitute, and frame, such just and equal laws, ordinances,
       acts, constitutions, and offices, from time to time, as shall be thought most meet
       and convenient for the general good of the colony.3

       Far from being unusual, such early American concepts of community self-government—

that people possessed the authority to create, control, and change their own governing systems—

were the norm. In the 1620s, early colonists founded settlements in New Hampshire that became

the Towns of Portsmouth and Dover. Both were “wholly self-ruled,” and Dover’s inhabitants


2
  McQuillan, A TREATISE ON THE LAW OF MUNICIPAL CORPORATIONS, Vol. 1 at 152 (1911) (“in
this country from the beginning, political power has been exercised by citizens of the various
local communities as local communities, and this constitutes the most important feature in our
system of government.”).
3
  The Mayflower Compact at ¶ 2 (http://en.wikipedia.org/wiki/Mayflower_Compact) (accessed
November 10, 2014).

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self-organized themselves into a “body politic … with all such laws as shall be concluded by a

major part of the Freemen of our Society.” In 1639, the settlers of Exeter, New Hampshire,

created their own government, declaring in the Exeter Compact that we “combine ourselves

together to erect and set up among us such Government. . . according to the libertyes of our

English colony of Massachusetts.” Lutz, ed., COLONIAL ORIGINS OF THE AMERICAN

CONSTITUTION: A DOCUMENTARY HISTORY 3 (1998).

       People in towns, villages, and colonies also joined with people from other areas to create

broader levels of government to further secure their right to community self-government. For

example, on January 14, 1639, people from the Connecticut Towns of Windsor, Hartford, and

Wethersfield joined together to adopt the Fundamental Orders of Connecticut, the first written

state constitution in America, which created a compact securing the right of self-government

within those Towns.4 And in 1643, the people of various towns and colonies joined together to

create the United Colonies of New England, approving Articles of Confederation for the United

Colonies which declared that the people of each plantation, town, and colony shall have

“exclusive jurisdiction and government within their limits,” thereby securing their authority to

self-govern locally.5

       Judge Eugene McQuillan, author of a seminal treatise on the law of municipal

corporations, explained that those communities constituted “miniature commonwealths. . . [with]

the solid foundation of that well-compacted structure of self-government.” McQuillan, A

4
  See the Avalon Project at Yale Law School, Fundamental Orders of 1639
(http://avalon.law.yale.edu/17th_century/order.asp) (accessed November 8, 2014).
5
  See the Avalon Project at Yale Law School, the Articles of Confederation of the United
Colonies of New England, May 19, 1643 (http://avalon.law.yale.edu/17th_century/art1613.asp)
(accessed November 8, 2014). Others proceeding to create self-governing jurisdictions included
the Popham Colony in present-day Maine, the Saybrook Colony of present-day Connecticut, and
the colonies of New Haven, New Netherland, East Jersey, West Jersey, and the Province of
Carolina, among many others.

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TREATISE ON THE LAW OF MUNICIPAL CORPORATIONS, Vol. 1 at 144 (1911). Thus, the early

American colonies were replete with constitutions, compacts, and agreements reflecting that

uniquely self-organizing American form of government, one in which the people of those

communities possessed the unabridged (and sovereign) right to create, control, and change their

systems of governance.6 Id. at 384–85 (“[T]he people of the various organized communities

exercise their rights of local self-government under the protection of these fundamental

principles which were accepted, without doubt or question. . .”).

                       2. Community self-government is the foundation of American
                          constitutional law.

       While Great Britain tolerated the colonists’ self-rule in the interests of efficiency, it

believed that final authority over governing matters lie with the British king and parliament.

Clashes between these two theories of government—of the right of the American people to

create, manage, and alter their systems of government as they saw fit; and the “right” of the

British government to manage the colonies—were commonplace in the period leading up to the




6
  An English writer in the middle of the nineteenth century explained how the freedom of a
society correlates with the strength of local government: “There are two elements to which every
form of Government may be reduced. These are LOCAL SELF-GOVERNMENT on the one hand, and
CENTRALIZATION on the other. According as the former or the latter of these exists more or less
predominant, will the state of any nation be the more or less free, happy, progressive, truly
prosperous, and safe…. LOCAL SELF-GOVERNMENT is that system of Government under which
the greatest number of minds, knowing the most, and having the fullest opportunities of knowing
it, about the special matter in hand, and having the greatest interest in its well-working, have the
management of it, or control over it. CENTRALIZATION is that system of Government under which
the smallest number of minds, and those knowing the least, and having the fewest opportunities
of knowing it, about the special matter in hand, and having the smallest interest in its well-
working, have the management of it, or control over it.” Smith, Joshua Toulmin, LOCAL SELF-
GOVERNMENT AND CENTRALIZATION 11, 12 (1851).

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Revolutionary War.7 Such clashes led to the development of the doctrine of community self-

government as constitutional law, and, inevitably, to revolutionary conflict.

       In 1760, colonial lawyer James Otis, Jr. first used the right of community self-

government as a constitutional doctrine when he represented colonial merchants in a direct

challenge to Great Britain’s authority to adopt “writs of assistance”. Miller, ORIGINS OF THE

AMERICAN REVOLUTION 46 (1962). The writs allowed British authorities to enter any colonist’s

residence without advance notice or probable cause. Otis argued that the writs were invalid

because they had been adopted only by the British parliament, and not by the people of the

colonies. Otis’ thesis—that the people themselves were the only rightful lawmaking authority—

was the first articulation of community self-government as a legal and constitutional doctrine

within the colonial context. Beach, SAMUEL ADAMS: THE FATEFUL YEARS 1764-1776 55 (1965).

Otis’ work, entitled The Rights of the British Colonies Asserted and Proved, placed the right of

local self-government (including the right to alter any system of governance that undermines that

right) at the heart of the patriots’ struggle. In his pamphlet he explained:

       There is no one act which a government can have a right to make that does not
       tend to the advancement of the security, tranquility, and prosperity of the
       people…. The form of government is by nature and by right so far left to the
       individuals of each society that they may alter it from a simple democracy or
       government of all over all to any other form they please….
See Kurland and Lerner, eds., THE FOUNDERS’ CONSTITUTION, Vol. 1, Chap. 13, Doc. 4 (1987).


7
  Foreshadowing the American Revolutionary War, there were no fewer than a dozen armed
peoples’ revolts against British rule between 1676 and the 1760’s. As with the Revolutionary
War, almost all were triggered by British efforts to strip the colonists of self-governing authority.
They included Bacon’s Rebellion of 1676 (driven by the royal governor’s refusal to implement
measures adopted by the Virginia legislature); Culpeper’s Rebellion of 1677 (evicting the
proprietary government of Carolina due to the collection of a British-imposed tobacco duty); the
Boston Revolt of 1689 (imprisoning the royal governor and re-establishing an earlier form of
representative government); and the Mast Tree Riot of 1734 (against the royal government’s
prohibition on colonial use of mature pine trees used by the English navy for masts). Miller,
ORIGINS OF THE AMERICAN REVOLUTION 38 (1962).



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                       3. Denial of the right of community self-government was the cause of
                          the American Revolution.

       The British parliament’s denial of the right of local, community self-government was the

cause of the American Revolution. In Boston, which would become the epicenter of the

American Revolution, a concerted movement—to replace British rule with a system of

governance premised on community self-government—began in 1764. That year, the British

parliament passed the Currency Acts to remove colonial legislative control over issuing

currency. In response, the people of the Town of Boston, through their Town Meeting8, voted to

establish the first, temporary Committee of Correspondence. The Committee was tasked with

informing the public about the Currency Acts, along with building public support for repeal.

Maier, FROM RESISTANCE TO REVOLUTION 216 (1972). Other towns formed similar committees.

See Miller, ORIGINS OF THE AMERICAN REVOLUTION 124-26 (1962).

       “Stamp Act Riots” against British authority ensued. In 1765, the Stamp Act Congress

issued a “Declaration of Rights and Grievances,” which focused on the Currency and Stamp

Acts’ violation of the colonial right to local self-government. The Stamp Act Congress argued

that the Currency Act’s removal of monetary policy from the colonists, and the Stamp Act’s

removal of tax policy, violated the people’s right of local self-government. See JOURNAL OF THE

FIRST CONGRESS OF THE AMERICAN COLONIES 29-31 (1845).

       The British Parliament retaliated by adopting the “American Colonies Act,” which

rejected the colonists’ authority to self-govern locally. It proclaimed that Parliament “had hath,

8
  The Boston Town Meeting was a regular event to which all of the people of Boston were
invited to discuss, and vote upon, issues important to Bostonians. The Town Meeting form of
government, unique to New England, continues today. All New England Towns hold an annual
Town Meeting (and special Town Meetings in between) to vote on resolutions and laws
proposed by residents. Current Massachusetts law recognizing the form and structure of those
Town Meetings can be found at Chapter 43-A of the General Laws of the Commonwealth of
Massachusetts.

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and of right ought to have, full power and authority to make laws and statutes of sufficient force

and validity to bind the colonies and people of America . . . in all cases whatsoever.” Maier,

FROM RESISTANCE TO REVOLUTION 145 (1972). In response, the colonists attacked the Act as

“inconsistent with the natural, constitutional and charter rights and privileges of the inhabitants

of this colony.” Kruman, BETWEEN AUTHORITY AND LIBERTY: STATE CONSTITUTION MAKING IN

REVOLUTIONARY AMERICA 12 (1997).

       Over the next decade, Parliament continued to assert taxation authority over the colonists,

and the American people continued to assert their right of community self-governance. In 1772,

the people of Boston voted to establish the first permanent Committee of Correspondence in the

colonies, tasking it with proclaiming "the rights of the colonists. . . [and] to communicate and

publish the same to the several towns in this province and to the world as the sense of this town."

Miller, ORIGINS OF THE AMERICAN REVOLUTION 329-30 (1962). People in hundreds of towns and

villages formed committees to coordinate responses to Parliamentary actions. Id.

       Also in 1772, frontier settlers living along the Watauga and Nolichucky Rivers, in the

eastern part of what would become the state of Tennessee, joined together to become the

Watauga Association—the first independent constitutional government in America. After

negotiating a ten-year lease with the Cherokee, the settlers unanimously adopted the Articles of

the Watauga Association, establishing a local government system, a five-member court, a

courthouse, and a jail. President Theodore Roosevelt declared that “the Watauga settlers

outlined in advance the nation’s work. They bid defiance to outside foes and they successfully

solved the difficult problem of self-government.” Dickinson, “Watauga Association,”

TENNESSEE ENCYCLOPEDIA OF HISTORY AND CULTURE (2002).




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       In May 1773, Parliament adopted the Tea Act, allowing the East India Company to sell,

for the first time, surplus tea directly to people in the colonies. Purchase of the English tea, and

the payment of parliamentary taxes along with it, was viewed as an effort to weaken colonial

opposition to parliamentary taxation, and thus to weaken colonial claims to the right of local self-

government. Maier, FROM RESISTANCE TO REVOLUTION 275-78 (1972). But the colonists

rebelled, resulting in the Boston Tea Party, as well as similar Tea Parties hosted by the people of

other towns and villages.

       To punish the colonists for their opposition to the Tea Act, Parliament adopted a series of

laws known as the “Intolerable Acts” or “Coercive Acts.” These sought to nullify completely

certain types of colonial self-government.9 For instance, the British-imposed Massachusetts

Government Act sent a clear signal that Great Britain would not tolerate local self-government in

the colonies. Miller, ORIGINS OF THE AMERICAN REVOLUTION 369-70 (1962). Long seen as a

model for local, community self-government, Massachusetts’s law had given people wide

latitude to make local governing decisions.10

       The goal of the Massachusetts Government Act was to displace the various legislative

mechanisms of local self-government by expanding the royal governor’s powers. British officials

believed that their inability to control the people of Massachusetts was directly attributable to the

9
 The Acts included the Quebec Act (stripping the people of Quebec of most governing authority,
it was seen as a parliamentary model for future treatment of the colonists); the Administration of
Justice Act (requiring trials of certain British officers to occur in British courts, removing the
jurisdiction of colonial courts over them); the Massachusetts Government Act (banning Town
Meetings without the consent of the royal Governor, and canceling part of the Colony’s original
Charter by eliminating the authority of the colonial assembly to elect the Executive Council); and
the Quartering Act (requiring the colonies to provide housing for British soldiers over the refusal
of the assemblies of several states to do so).
10
   The 1691 Charter for the Massachusetts Bay Colony provided that all residents of the Colony
“shall have and enjoy all liberties and immunities of free and natural subjects. . . as if they and
every one of them were born within this our realm of England.” Beach, SAMUEL ADAMS: THE
FATEFUL YEARS 1764-1776 48 (1965).

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highly independent nature of its local governments and the operation of the Town Meeting at the

community level. The Act required that each “agenda item at every town meeting in

Massachusetts. . . be submitted in writing to the governor and meet with his approval. . . No

meeting could be called without the prior consent of the governor.” Raphael, THE FIRST

AMERICAN REVOLUTION BEFORE LEXINGTON AND CONCORD 50 (2011). As Lord North explained

to Parliament, the purpose of the Act was "to take the executive power from the hands of the

democratic part of government.” Christie and Labaree, EMPIRE OR INDEPENDENCE, 1760-1776

188 (1976). The royal governor eventually used the Act to dissolve the Massachusetts Assembly

completely.

       The people of Massachusetts rebelled against this threat to their right of local self-

government by closing down the British judicial system, so that it could not be used to enforce

the Act. People in the Towns of Worcester, Springfield, Southampton, Salem, Marblehead,

Taunton, and Stoughton not only forcibly closed the courts, but forced hundreds of British

officials to resign their positions. Without the courts, the people of those Towns drew up their

own plans for keeping order, while urging the people of their own Town Meetings to “pay no

regard to the late act of parliament, respecting the calling of town meetings, but, to proceed in

their usual manner.” Raphael, THE FIRST AMERICAN REVOLUTION BEFORE LEXINGTON AND

CONCORD 107 (2011).

                       4. Community self-government is the foundation of the Declaration
                          of Independence.

       Beginning in 1773, in response to those royal assertions of power and nullification of

local self-governance, the people of ninety towns, villages, and counties across the thirteen

colonies began to issue their own local declarations of independence. Declaring that only their

own homegrown, democratically-elected governments could “constitutionally make any laws or



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regulations,” those communities proclaimed their own independence from British rule years

before issuance of a national Declaration of Independence by Congress. Maier, AMERICAN

SCRIPTURE: MAKING THE DECLARATION OF INDEPENDENCE 48-49 (1997). The Charlotte Town

Resolves, as one example of many, declared in May 1775, over a year before the national

declaration, that “all laws derived from the authority of the King or Parliament are annulled and

vacated.”11

       It was amidst the issuance of these local declarations that the colonists formed the First

Continental Congress, which met in September of 1774, with representatives attending from

twelve of the thirteen colonies. During that Congress, the delegates declared: “[a]ssemblies have

been frequently dissolved, contrary to the rights of the people … [and] that the inhabitants of the

English Colonies in North America, by the immutable laws of nature … are entitled to life,

liberty, and property, and they have never ceded to any sovereign power whatever a right to

dispose of either without their consent.” This articulation of the right of community self-

government continued to lay the foundation for the final break between the American colonies

and Great Britain.

       In May 1776 – before the issuance of the national Declaration of Independence - the

Second Continental Congress adopted a resolution that power be transferred from governments

resting on the Crown’s sovereignty to those based upon popular authority and self-government.

The preamble demanded “that the exercise of every kind of authority under the. . . Crown should

be totally suppressed.” JOURNALS OF THE CONTINENTAL CONGRESS, 4:342, 357-58. Several

months later, the people of Virginia adopted the first “Declaration of Rights,” which set forth the

constitutional doctrine of local self-government:

11
  The Avalon Project at Yale Law School, THE MECKLENBURGH RESOLUTIONS (May 20, 1775)
(http://avalon.law.yale.edu/18th_century/nc06.asp) (accessed November 9, 2014).

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       Section 2. That all power is vested in, and consequently derived from, the people;
       that magistrates are their trustees and servants and at all times amenable to them.
       Section 3. That government is, or ought to be, instituted for the common benefit,
       protection, and security of the people, nation, or community; of all the various
       modes and forms of government, that is best which is capable of producing the
       greatest degree of happiness and safety and is most effectually secured against the
       danger of maladministration. And that, when any government shall be found
       inadequate or contrary to these purposes, a majority of the community has an
       indubitable, inalienable, and indefeasible right to reform, alter, or abolish it, in
       such manner as shall be judged most conducive to the public weal.12
       This fundamental principle of local self-government was recognized and reasserted by

the Congress in June 1776, when it issued the national Declaration of Independence. Penned

originally by Thomas Jefferson and edited by a congressional committee, the Declaration listed

the infringement of local self-government as the primary basis for severance from Great

Britain.13 It codified the principles of local self-government that had been forged by the

American colonists starting in the 1600s onward. Drawing on the declarations of towns, villages,

colonies, compacts, early constitutions, and the writings of James Otis and others, the

Declaration reaffirmed four major principles of law:

       -First, that certain rights—those of life, liberty, safety, and the pursuit of happiness—are
       natural rights, held by virtue of being human14;

       -Second, that governments are created to secure those natural rights15;

       -Third, that each government owes its existence to, and derives its power exclusively
       from, the community that creates it16; and



12
   Id. at Virginia Declaration of Rights (http://avalon.law.yale.edu/18th_century/virginia.asp)
(accessed November 10, 2014) (emphasis added).
13
   The great majority of the numerous facts “submitted to a candid world” by the Declaration to
document the colonists’ grievances with the crown concerned the power of self-government,
beginning with the very first: “He has refused his Assent to Laws the most wholesome and
necessary for the public good.”
14
   DECL. OF INDEPENDENCE at ¶ 2 (“That all men. . . are endowed by their Creator with certain
unalienable rights; that among these are life, liberty, and the pursuit of happiness.”).
15
   Id. (“that, to secure these rights, governments are instituted among men.”).
16
   Id. (“deriving their just powers from the consent of the governed.”).

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       -Fourth, that when government becomes destructive of the people’s natural rights, the
       people have a right (and duty) to alter or abolish that government and establish new
       forms.17

The Declaration of Independence has been congressionally recognized as an organic, enforceable

law of the United States, and so is part of the United States Code. See 1 U.S.C. at i-iii. In the

words of historian Joshua Miller, the great principles “evoked in the Declaration are autonomy of

collectivities, natural rights, and the legitimacy of revolution.” See Miller, THE RISE AND FALL OF

DEMOCRACY IN EARLY AMERICA, 1630-1789 70 (1991).




                       5. Community self-government is the foundation for state
                          constitutions.
       The Constitutions adopted by the people of the colonies—transforming the colonies from

chartered corporations into sovereign states—reaffirmed and codified, as the basis for those state

governments, the four principles of local self-government asserted by the Declaration of

Independence.18 For instance, in Pennsylvania’s Declaration of Rights, incorporated into the

Pennsylvania Constitution of 1776, the people declared:



17
   Id. (“whenever any form of government becomes destructive of these ends, it is the right of the
people to alter or to abolish it, and to institute new government, laying its foundation on such
principles, and organizing its powers in such form, as to them shall seem most likely to effect
their safety and happiness. . . it is their right, it is their duty, to throw off such government.”).
18
  The people of two states, New York and Connecticut, adopted the text of the Declaration
directly into their state constitutions; the people of eight states adopted a Declaration of Rights
that restated the four principles of the Declaration; and the people of four states—New Jersey,
Georgia, South Carolina, and New Hampshire—included the principles of the Declaration in the
text of the preamble to their state constitutions. See The Avalon Project at Yale Law School at
Constitution of New York (April 20, 1777); Constitution of New Jersey (July 2, 1776);
Constitution of Georgia (February 5, 1777); Constitution of South Carolina (March 26, 1776);
Constitution of New Hampshire (January 5, 1776); Constitution of Delaware (September 21,
1776); Constitution of Maryland (November 11, 1776), Constitution of North Carolina
(December 18, 1776); Constitution of Pennsylvania (September 28, 1776); Constitution of
Virginia (June 29, 1776); Constitution of Vermont (July 8, 1777),
http://avalon.law.yale.edu/subject_menus/18th.asp (accessed November 11, 2014).

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       That all men are born equally free, and independent; and have certain, natural,
       inherent, and inalienable rights; amongst which are; the enjoying and defending of
       life and liberty; acquiring, possessing, and protecting property; and pursuing and
       obtaining happiness and safety.
       That all power being originally inherent in, and consequently derived from, the
       people; therefore all officers of government, whether legislative, or executive, are
       their trustees, and servants, and at all times accountable to them.
       That government is, or ought to be, instituted for the common benefit, protection
       and security of the people, nation, or community; and not for the particular
       emolument or advantage of any single man, family, or set of men, who are a part
       only of that community; And that the community hath an indubitable, unalienable
       and indefeasible right to reform, alter, or abolish government in such manner as
       shall be by that community judged most conducive to the public weal.19
       In addition to being expressly secured by state constitutions, the right of community self-

government was embodied in the process by which the people of each state drafted and adopted

their constitutions. All but one of the thirteen original colonies entrusted the responsibility of

drafting new constitutions to the people themselves through constitutional conventions, rather

than through permanent state legislatures. See Marc Kruman, BETWEEN AUTHORITY AND

LIBERTY: STATE CONSTITUTION MAKING IN REVOLUTIONARY AMERICA 157-58 (1997).

                       6. The Treaty of Guadalupe Hidalgo, New Mexico Enabling Act, and
                          New Mexico Constitution guarantee the right of local, community
                          self-government to the people of Mora County.

       Like the people of the British colonies, New Mexicans—both indigenous and those of

Spanish and Mexican descent—have fought for their right of local, community self-government.




19
  See The Avalon Project at Yale Law School, Constitution of Pennsylvania at ¶¶ 2-5
(September 28, 1776) (http://avalon.law.yale.edu/18th_century/pa08.asp) (accessed
November 9, 2014) (emphasis added); Gormley, THE PENNSYLVANIA CONSTITUTION at
43–44 (the Pennsylvania Constitution “explicitly incorporated the Declaration of Rights
into the Constitution with the mandate that it ‘ought never to be violated on any pretence
whatever.’”).



                                                  20
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From preserving the Pueblos’ right of self-government20, to battling against Spanish, Mexican,

and American colonial efforts to remove the right21, New Mexicans have a long history of

defending their self-governing authority, very often with their lives. This intense, ongoing

insistence upon self-governing authority eventually forced Spain, and then a newly-independent

Mexico, to accommodate the local self-government authority of the people of the Pueblos, and to

institute land grants to appease indigenous and other New Mexican peoples.

       In the 1848 Treaty of Guadalupe Hidalgo, which ended the Mexican-American War, the

United States guaranteed certain rights and powers to communities in New Mexico. Articles VIII

and IX guarantee the “free enjoyment of the liberty and property” of the inhabitants of what

became Mora County. See Doc. 17-1, Ordinance §2. By those Articles, the Treaty guarantees

community use rights, “including, but not limited to . . . hunting, pasture, wood gathering, and

watering.” Id. New Mexico’s Bill of Rights reinforces these guarantees: “the rights, privileges,

and immunities, civil, political and religious guaranteed to the people of New Mexico by the

Treaty of Guadalupe Hidalgo shall be preserved inviolate.” N.M. CONST., art II, § 6.

       In 1910, as a prerequisite to statehood, Congress adopted an Enabling Act for New

Mexico. The Act required the drafting and popular ratification of a New Mexican Constitution,

and required that:

       The constitution be republican in form and make no distinction in civil or political rights
       on account of race or color, and shall not be repugnant to the constitution of the United
       States and the principles of the declaration of independence.


20
   As recognized by the New Mexican Pueblos through the Constitution of the All Indian Pueblo
Council, the governance goal of the confederation of Pueblos is to “preserve and protect . . . our
inherent rights of self-government.” AIPC Const. at Preamble.
21
   Between 1540 and 1600, Pueblo communities were “subjected to seven successive waves of
soldiers, missionaries and settlers.” Each wave met with resistance from indigenous peoples.
Adrea Lawrence, LESSONS FROM AN INDIAN DAY SCHOOL: NEGOTIATING COLONIZATION IN
NORTHERN NEW MEXICO, 1902-1907 (2011).

                                                21
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Act of June 20, 1910, 36 Statutes at Large 557, Chapter 310, section 2 (emphasis added). The

“principles of the declaration of independence,” which via the Enabling Act are enforceable law

in New Mexico, can mean nothing other than the Declaration’s theory of the fundamental right

of self-government, as there are no other principles of law in the Declaration. The rest of the

document is merely a list of the particular grievances the American colonists had against Great

Britain.

       The resulting New Mexico Bill of Rights reaffirmed the framework of law articulated by

the Declaration, as it was required to do, proclaiming:

       All political power is vested in and derived from the people: all government of right
       originates with the people, is founded upon their will and is instituted solely for their
       good.
N.M. CONST., art II, § 2. “Political power” here necessarily refers to the Declaration’s

articulation of the theory of legitimate government for the people of the United States.



                       7. The U.S. Constitution guarantees the right of local, community
                          self-government to the people of Mora County.
       The U.S. Constitution also secures the right of local, community self-government in a

number of places. The Preamble says:

       We the People of the United States, in Order to form a more perfect Union, establish
       Justice, insure domestic Tranquility, provide for the common defence, promote the
       general Welfare, and secure the Blessings of Liberty to ourselves and our Posterity, do
       ordain and establish this Constitution for the United States of America.
U.S. CONST. at Preamble.

       Three of the four principles of self-government from the Declaration appear here, though

more loosely. The words “justice, tranquility, defence, welfare, and blessings of liberty” express

the Declaration’s principle that people have certain natural rights by virtue of being human. The

words “in Order to” and “do ordain and establish” express the Declaration’s principle that people

form governments to secure their civil and political rights. The words “We the People of the


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United States” express the Declaration’s principle that governmental authority stems from the

people of the community exercising the powers of government, and is to be exercised for their

benefit only. Only the Declaration’s fourth fundamental principle, on the people’s authority to

alter or abolish governments, fails to find literal expression in the Preamble.22

       The founders debated whether more explicitly to insert all four principles of the

Declaration of Independence directly into the Constitution’s preamble, or whether the people’s

right of self-government was so fundamental that it need not be expressly stated in the text of the

Constitution itself.23 Advocating for express inclusion, James Madison argued: “[i]f it be a truth,


22
  As one writer said, “The people, who are sovereigns of the state, possess a power to alter when
and in what way they please. To say [otherwise] ... is to make the thing created, greater than the
power that created it.” Fed. Gazette, 18 Mar. 1789 (reprinted in Matthew J. Herrington, Popular
Sovereignty in Pennsylvania 1776–1791, 67 TEMP. L. REV. 575 (1994)).
23
   This debate was forced by the people of the states through their ratifying conventions. The
conventions of many states chose to use the ratification process as another vehicle for securing
their right to community self-government. They did so by offering amendments that incorporated
the principles of the Declaration directly into the text of the Constitution. The people who voted
to reject the Constitution outright (and the populations they represented), and the people who
refused to ratify without the offering of those local self-government amendments (and the
populations they represented) constituted a majority of the people living within the United States
at the time of ratification. See The Avalon Project at Yale Law School at Ratification of the
Constitution by the Various States (http://avalon.law.yale.edu/subject_menus/18th.asp) (accessed
November 11, 2014).
         Mirroring the Declaration of Rights already adopted by a majority of people within a
majority of states in their own constitutions, the people of Virginia ratified the Constitution
subject to the following amendments:

       1st. That there are certain natural rights of which men when they form a social
       compact cannot deprive or divest their posterity, among which are the enjoyment
       of life, and liberty, with the means of acquiring, possessing and protecting
       property, and pursuing and obtaining happiness and safety.
       2d. That all power is naturally vested in, and consequently derived from, the
       people; that magistrates therefore are their trustees, and agents, and at all times
       amenable to them.
       3d. That the Government ought to be instituted for the common benefit, protection
       and security of the people; and that the doctrine of non-resistance against arbitrary
       power and oppression, is absurd, slavish, and destructive to the good and
       happiness of mankind.

                                                 23
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and so self-evident that it cannot be denied—if it be recognized, as is the fact in many of the

State Constitutions. . . this solemn truth should be inserted in the Constitution.”24

       The House rejected the addition, significantly because it deemed the language already

incorporated within the Constitution’s preamble. Roger Sherman explained that since:

       this right is indefeasible, and the people have recognized it in practice, the truth is
       better asserted than it can be by any words whatever. The words “We the people,”
       in the original Constitution, are as copious and expressive as possible; any
       addition will only drag out the sentence without illuminating it. . . 25

Fourteen years later, the U.S. Supreme Court, in Marbury v. Madison, 5 U.S. (1 Cranch) 137

(1803), validated Sherman’s reasoning. Interpreting the Constitution’s preamble as recognizing

the people’s inherent and fundamental right of self-government, the Court concluded:

      [t]hat the people have an original right to establish, for their future government,
      such principles as, in their own opinion, shall most conduce to their own
      happiness, is the basis on which the whole American fabric has been erected.
Marbury, 5 U.S. (1 Cranch) at 176. 26

The Avalon Project at Yale Law School, RATIFICATION OF THE CONSTITUTION BY THE STATE OF
VIRGINIA (June 26, 1788) (http://avalon.law.yale.edu/18th_century/ratva.asp) (accessed
November 8, 2014).
24
 Madison proposed amending the Constitution’s preamble to include the following language:

       “That all power is originally vested in, and consequently derived from the people.

       That government is instituted, and ought to be exercised for the benefit of the
       people, which consists in the enjoyment of life and liberty, with the right of
       acquiring and using property, and generally of pursuing and obtaining happiness
       and safety.

         That the people have an indubitable, unalienable, and indefeasible right to reform
         or change their government, whenever it be found adverse or inadequate to the
         purposes of its institution.”
U.S. House of Representatives, June 8, 1789
(http://teachingamericanhistory.org/bor/madison_17890608/) (accessed November 8,
2014).
25
   U.S. House of Representatives, August 14, 1789
(www.teachingamericanhistory.org/bor/select-committee-report/) (accessed November 8, 2014).
26
   Speaking at the Pennsylvania convention that ratified the federal Constitution, James Wilson
said: “His [Mr. Findley’s] position is, that the supreme power resides in the States, as

                                                 24
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       The right of local, community self-government, as a fundamental right, is also protected

by the Ninth Amendment of the Bill of Rights. That Amendment says: “the enumeration in the

Constitution, of certain rights, shall not be construed to deny or disparage other rights retained by

the people.” As the concurrence in Griswold, 381 U.S. at 488, explained: “The language and

history of the Ninth Amendment reveal that the Framers of the Constitution believed that there

are additional fundamental rights, protected from governmental infringement, [in addition to]

those fundamental rights specifically mentioned in the first eight constitutional amendments.”

       Historical evidence uncovered in the last twenty-five years reinforces that the public

intent of this amendment was to elevate the natural rights of people - that pre-existed the

Constitution - to the same status, whether or not the rights were explicitly enumerated in the Bill

of Rights. Randy E. Barnett, The Ninth Amendment: It Means What It Says, 85 TEX. L. REV. 1,

28-29 (2006). These pre-existing natural rights include individual rights as well as collective

rights. Id. at 21, 20, and 46.

       Among the retained rights of the people is the fundamental right to alter or abolish their

form of government whenever they see fit. See 2 Blackstone’s COMMENTARIES: WITH NOTES OF

REFERENCE TO THE CONSTITUTION AND LAWS OF THE FEDERAL GOVERNMENT OF THE UNITED

STATES AND OF THE COMMONWEALTH OF VIRGINIA 162 (1803); Deitz v City of Central, 1 Colo.

Rptr. 323 (Colo. Terr. 1871); Henry Broderick, Inc. v. Riley,157 P.2d 954, 966 (Wash. 1945) (the

Ninth Amendment serves as a “sentinel against overcentralization of government, [and serves as


governments; and mine is, that it resides in the people, as the fountain of government; that the
people have not—that the people mean not—and that the people ought not, to part with it to any
government whatsoever. They can delegate it in such proportions, to such bodies, on such terms,
and under such limitations, as they think proper.” James Wilson, Pennsylvania Ratifying
Convention, 4 Dec. 1787 (reprinted in Philip B. Kurland, THE FOUNDERS’ CONSTITUTION
VOLUME ONE at 62).



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a] monument to the wisdom of the constitutional framers who realized that for the stable

preservation of our form of government, it is essential that local governmental functions be

locally performed.”). As legal scholar Kurt Lash explains:

       The right to local self-government is a right retained by all people and can be
       exercised in whatever political direction the people please. What we have
       forgotten, what we have lost, is that the right to local self-government is more
       than an idea. It is a right enshrined in the Constitution itself.
Kurt Lash, THE LOST HISTORY OF THE NINTH AMENDMENT 360 (2009).27
       Accordingly, the people of Grant Township possess an inherent, federal, and state

guaranteed right of local, community self-government, secured by the Declaration of

Independence, the Pennsylvania Constitution, and the United States Constitution.

                      8. The Mora County Community Water Rights and Local Self-
                         Government Ordinance too now secures the right of local,
                         community self-government for the people of Mora County.
       With enactment of the Ordinance, the people of Mora County secured the Declaration’s

theory of the right of local, community self-government by codifying it into local law:

       Section 4.5. Right to Self-Government: All residents of Mora County possess the
       fundamental and inalienable right to a form of governance where they live which
       recognizes that all power is inherent in the people, that all free governments are founded
       on the people’s authority and consent, and that corporate entities and their directors and
       managers shall not enjoy special privileges or powers under the law which make
       community majorities subordinate to them.

       Section 4.6. People are Sovereign: The Mora County Commission shall be the governing
       authority responsible to, and governed by, the residents of the County. Use of the “Mora
       County” municipal corporation by the sovereign people of the County to make law shall
       not be construed to limit or surrender the sovereign authority or immunities of the people
       to a municipal corporation that is subordinate to them in all respects at all times. The
       people at all times enjoy and retain an inalienable and indefeasible right to self-
       governance in the community where they reside.
Doc 17-1, Ordinance §§ 4.5, 4.6.



27
  The U.S. Constitution also secures the right to local, community self-government at Article IV,
§4: “The United States shall guarantee to every State in this Union a Republican Form of
Government.”

                                               26
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               B. Corporate constitutional “rights” unconstitutionally infringe the people’s
               right of local, community self-government.

       Given the colonial history of local self-government in America, the foundation of our

state and federal constitutions on local, community self-government, and the now mythic quality

attached to the idea of “democracy” here, it is strange that the notion of local communities

making decisions with the force of law is so foreign to American jurisprudence. Yet it is.

       Community lawmaking as the legitimate exercise of self-government by people where

they live has generated mostly critical, occasionally derisive treatment from legislators, jurists,

and commentators since the time of the founding. Consistent with this attitude, American

jurisprudence has developed legal doctrines to infringe the right of local, community self-

government, both by denying it outright, and by severely restricting local governmental power

allowed for communities by state law.

       One of the doctrines that infringes the right of local, community self-government is that

of corporate constitutional “rights.” Business corporations are a species of property. The doctrine

of corporate constitutional “rights” gives the constitutional rights of people to this property.

Then, when local government enacts a law that a corporation dislikes, the corporation may assert

its constitutionally-derived “rights” to challenge and defeat the law.28 Thus, the existence and

enforcement of that doctrine prevents the people of Mora County from exercising their right of

local, community self-government.

                       1. Business corporations are chartered by state governments as
                          subordinate entities.




28
  As will be seen in later sections of this Brief, because corporate “rights” are rooted in the
federal constitution, corporations routinely exercise those “rights” to overturn not only local
laws, but also state and federal ones.

                                                 27
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       The cause of the American Revolutionary War was the systemic usurpation of the rights

of colonists by the British King and Parliament.29 Those usurpations occurred largely through the

King’s empowerment of eighteenth century corporations of global trade, such as the East India

Company. Oft-cited as the final spark of the War, the Boston Tea Party was the direct result of

colonial opposition to the East India Company’s securing of representation for its interests from

the British government through the transfer of corporate tariff obligations to the colonists as

taxes. This preferential governmental treatment of corporations over people enabled the

Company to monopolize the tea market in the colonies while the people’s right to representation

and local self-government were actively violated.30

       After the Revolution—and in recognition of their experiences with those British

corporations—the colonists placed corporations under strict control. Early legislatures granted

charters one at a time, for a limited number of years,31 held business owners liable for harms and

injuries, revoked corporate charters when necessary, forbade banking corporations from




29
   See, e.g., the American Declaration of Independence, ¶1 et seq. (U.S. 1776) (listing the
grievances of the colonists).
30
   James K. Hosmer, SAMUEL ADAMS 212 (1885) (stating that the British Parliament hoped that
“the prosperity of the East India Company would be furthered, which for some time past, owing
to the colonial non-importation agreements, had been obliged to see its tea accumulate in its
warehouses, until the amount reached 17,000,000 pounds”).
31
   See Louis K. Liggett Co., v. Lee, 288 U.S. 517 (1933) (Brandeis, J., dissenting) (stating that “at
first the corporate privilege was granted sparingly; and only when the grant seemed necessary in
order to procure for the community some specific benefit otherwise unattainable.” Here, too,
Brandeis answered the question of why incorporation for business was commonly denied long
after it had been freely granted for religious, educational, and charitable purposes: “It was denied
because of fear. Fear of encroachment upon the liberties and opportunities of the individual. Fear
of the subjection of labor to capital. Fear of monopoly. Fear that absorption of capital by
corporations, and their perpetual life, might bring evils similar to those which attended
mortmain. There was a sense of some insidious menace inherent in large aggregations of capital,
particularly when held by corporations.”).

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engaging in trade, prohibited corporations from owning each other, and established that

corporations could only be chartered for “public purposes.”32

      It is well-settled law that business corporations are creations of the state.33 The United

States Supreme Court has repeatedly reaffirmed that business corporations are “creatures” of the

state.34 As such, they are chartered by the state in the name of the people. It also is well-settled



32
   Robert Hamilton, THE LAW OF CORPORATIONS 6 (1991). As the Supreme Court of Virginia
reasoned in 1809, if the applicant’s “object is merely private or selfish; if it is detrimental to, or
not promotive of, the public good, they have no adequate claim upon the legislature for the
privileges.” Morton J. Horwitz, THE TRANSFORMATION OF AMERICAN LAW, 1780-1860 112
(1977).
33
   See St. Louis, I.M. & S Ry. Co. v. Paul, 173 U.S. 404 (1899) (declaring that corporations are
“creations of state”); Bank of Augusta v. Earle, 38 U.S. 519, 520 (1839) (stating that
“corporations are municipal creations of states”); United States v. Morton Salt Co., 338 U.S. 632,
650 (1950) (explaining that corporations “are endowed with public attributes. They have a
collective impact upon society, from which they derive the privilege as artificial entities”); Hale
v. Henkel, 201 U.S. 43, 75 (1906) (declaring that “the corporation is a creature of the state. It is
presumed to be incorporated for the benefit of the public. . . . Its rights to act as a corporation are
only preserved to it so long as it obeys the laws of its creation”); Chincleclamouche Lumber &
Broom Co. v. Commonwealth, 100 Pa. 438, 444 (Pa. 1881) (stating that “the objects for which a
corporation is created are universally such as the government wishes to promote. They are
deemed beneficial to the country”); See also, People v. North River Sugar Refining Company, 24
N.E. 834, 835 (NY 1890) (declaring that “[t]he life of a corporation is, indeed, less than that of
the humblest citizen.”); F.E. Nugent Funeral Home v. Beamish, 173 A. 177, 179 (Pa. 1934)
(declaring that “[c]orporations organized under a state’s laws. . . depend on it alone for power
and authority”); People v. Curtice, 117 P. 357, 360 (Colo. 1911) (declaring that “[i]t is in no
sense a sovereign corporation, because it rests on the will of the people of the entire state and
continues only so long as the people of the entire state desire it to continue”).
34
   See, e.g., Virginia Bankshares v. Sandberg, 501 U.S. 1083, 1093 (1991); Kamen v. Kember
Fin. Servs., 500 U.S. 90, 99 (1991); Braswell v. United States, 487 U.S. 99, 105 (1988); Burks v.
Lasker, 441 U.S. 471, 478 (1979) (declaring that “corporations are creatures of state law [] and it
is state law which is the font of corporate directors’ powers”); First Nat’l Bank of Boston v.
Bellotti, 435 U.S. 765 (1978); Santa Fe Industries, Inc. v. Green, 430 U.S. 462, 479 (1977); Cort
v. Ash, 422 U.S. 66, 84 (1975); United Steelworkers of America v. R.H. Bouligny, Inc., 382 U.S.
145, 147 (1965); Shapiro v. United States, 335 U.S. 1, 66 (1948); Ferry v. Ramsey, 277 U.S. 88,
96-97 (1928); Essgee Co. of China v. United States, 262 U.S. 151, 155 (1923); Yazoo &
M.V.R.Co. v. Clarksdale, 257 U.S. 10, 26 (1921); United States v. American Tobacco Co., 221
U.S. 106, 142-143 (1911); Wilson v. United States, 221 U.S. 361, 383 (1911); Hale v. Henkel,
201 U.S. 43 (1906); Terre Haute & I.R.Co. v. Indiana, 194 U.S. 579, 584 (1904); Fidelity Mut.
Life Asso. v. Mettler, 185 U.S. 308 327 (1902); Hancock Mut. Life Ins. Co. v. Warren, 181 U.S.
73, 76 (1901); Jellenik v. Huron Copper Mining Co., 177 U.S. 1, 11-13 (1900); Woodruff v.

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law that the Constitution not only protects people against the “State itself,” but also against “all

of its creatures.” See West Virginia State Board of Education v. Barnette, 319 U.S. 624, 637

(1943).

                         2. Over the past 150 years, the judiciary has “found” corporations
                            within the U.S. Constitution and bestowed constitutional rights
                            upon them.

          Contrary to the fact that corporations are creatures of the state and thus inferior to the

people, over the past 150 years, the judiciary has conferred constitutional rights—once intended

to protect only natural persons—upon corporations.35 It has done so by “finding” corporations in

the Fourteenth Amendment36, the Bill of Rights37, and the Contracts and Commerce Clauses38 of



Mississippi, 162 U.S. 291, 299, 309 (1896); Philadelphia & Southern Mail S.S. Co. v.
Pennsylvania, 122 U.S. 326 (1887); Sinking-Fund Cases, 99 U.S. 700, 718 (1878); Railroad Co.
v. Maryland, 88 U.S. 456, 469, 471 (1874); Dodge v. Woolsey, 59 U.S. 331 (1855); Bank of
Augusta v. Earle, 38 U.S. 519, 520 (1839); Briscoe v. President & Directors of Bank of
Kentucky, 36 U.S. 257, 328 (1837).
35
   As a general principal of justice, rights have long been understood to accrue to the living, and
not to the dead, nor to inanimate matter. Thomas Paine’s Common Sense (1776), credited with
inspiring the popular call for American independence, argued that hereditary government and the
rule of the dead over the living—expressed as oppressive legal precedent—defined the “old
form” of government, while deference to the rights of the living characterized the new. See also
Thomas Jefferson, who asked:
        Can one generation bind another, and all others, in succession forever? I think not. The
        Creator made the earth for the living, not the dead. Rights and powers can belong only to
        persons, not to things, not to mere matter unendowed with will. The dead are not even
        things…To what then are attached the rights and powers they held while in the form of
        men? A generation may bind itself as long as its majority continues in life; when that has
        disappeared, another majority is in its place, holding all the rights and powers their
        predecessors once held, and may change their laws and institutions to suit themselves.
        Nothing then is unchangeable but the inherent and inalienable rights of man!
Thomas Jefferson, Letter to Major John Cartwright, (June 5, 1824).
36
   Corporations were declared to be “persons” entitled to Fourteenth Amendment protections in
Santa Clara County v. Southern Pacific Railroad Company, 118 U.S. 394 (1886) and
Minneapolis & St. Louis Railroad Company v. Beckwith, 129 U.S. 26 (1889).
37
   Corporations were declared to be entitled to First Amendment protections in First National
Bank of Boston v. Bellotti, 435 U.S. 765 (1978); to Fourth Amendment protections in Hale v.
Henkel, 201 U.S. 43 (1906); and to Fifth Amendment protections in Noble v. Union River
Logging R. Co., 147 U.S. 165 (1893); Pennsylvania Coal Co. v. Mahon, 260 U.S. 393 (1922);

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the United States Constitution. As the judiciary conferred constitutional rights on corporations,

the legal community justified the result with literature on how corporations are legal persons.39

Nonetheless, the judiciary’s finding of corporations within these constitutional guarantees—and

especially within the Fourteenth Amendment’s guarantees of due process and equal protection—

has been challenged by sage Supreme Court jurists.40



and Fong Foo v. United States, 369 U.S. 141 (1962). Corporations have been discovered in other
Amendments, including the Seventh Amendment, but this Brief focuses solely on those
Amendments relevant to the instant suit.
38
   Courts conferred Contracts Clause protections on corporate charters in Dartmouth College v.
Woodward, 4 Wheat. 518 (1816). For a contemporary use of the Contracts Clause to override
local decisionmaking, see City of New Orleans v. Bellsouth Telecommunications, Inc. 690 F.3d
312 (5th Cir. 2012) (striking a law that imposed new consideration on a telecommunications
corporation for the use of rights-of-way within the City). For an example of Commerce Clause
protections for corporations, see, for example, South Dakota Farm Bureau, Inc. et al. v.
Hazeltine, 340 F.3d 583 (8th Cir. 2003) (striking down the State’s anti-corporate farming law as
violating agribusiness corporations’ rights under the Commerce Clause).
39
   Morton J. Horwitz, THE TRANSFORMATION OF AMERICAN LAW 1870-1960 101 (1992)
(explaining that “[t]he efforts by legal thinkers to legitimate the business corporation during the
1890’s were buttressed by a stunning reversal in American economic thought – a movement to
defend and justify as inevitable the emergence of large-scale corporate concentration”). Id. at 80,
145.
40
   See Connecticut General Life Insurance Co. v. Johnson, 303 U.S. 77, 85-90 (1938) (Black, J.,
dissenting) (declaring that “[n]either the history nor the language of the Fourteenth Amendment
justifies the belief that corporations are included within its protection”); Wheeling Steel Corp. v.
Glander, 337 U.S. 562, 576-581 (1949) (Douglas, J., and Black, J., dissenting) (declaring that “I
can only conclude that the Santa Clara case was wrong and should be overruled”); See also,
Hale v. Henkel, 201 U.S. 43, 78 (1906) (Harlan, J., concurring) (declaring that “in my opinion, a
corporation—an artificial being, invisible, intangible, and existing only in contemplation of
law—cannot claim the immunity given by the 4th Amendment; for it is not a part of the ‘people’
within the meaning of that Amendment. Nor is it embraced by the word “persons” in the
Amendment”); Bell v. Maryland, 378 U.S. 226, 263 (1964) (Douglas, J., dissenting) (declaring
that “[t]he revolutionary change effected by affirmance in these sit-in cases would be much more
damaging to an open and free society than what the Court did when it gave the corporation the
sword and shield of the Due Process and Equal Protection Clauses of the Fourteenth
Amendment”); First National Bank of Boston v. Bellotti, 435 U.S. 765, 822 (1978) (Rehnquist,
J., dissenting) (declaring that “[t]his Court decided at an early date, with neither argument nor
discussion, that a business corporation is a ‘person’ entitled to the protection of the Equal
Protection Clause of the Fourteenth Amendment”); Citizens United v. Federal Election
Commission, 558 U.S. 310, 466 (2010) (Stevens, J., concurring in part, dissenting in part)
(“corporations have no consciences, no beliefs, no feelings, no thoughts, no desires. . . they are

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       Recently, Montana Supreme Court Justice James C. Nelson explained well how corporate

personhood is a perverted mutation of liberty’s roots in natural rights:

        Lastly, I am compelled to say something about corporate “personhood.” While I
        recognize that this doctrine is firmly entrenched in the law, see Bellotti, 435 U.S. at 780
        n. 15, 98 S. Ct. at 1418 n. 15; but see 435 U.S. at 822, 98 S. Ct. at 1439-40 (Rehnquist, J.,
        dissenting), I find the entire concept offensive. Corporations are artificial creatures of
        law. As such, they should enjoy only those powers—not constitutional rights, but
        legislatively-conferred powers—that are concomitant with their legitimate function, that
        being limited-liability investment vehicles for business. Corporations are not persons.
        Human beings are persons, and it is an affront to the inviolable dignity of our species that
        courts have created a legal fiction which forces people—human beings—to share
        fundamental, natural rights with soulless creations of government. Worse still, while
        corporations and human beings share many of the same rights under the law, they clearly
        are not bound equally to the same codes of good conduct, decency, and morality, and
        they are not held equally accountable for their sins. Indeed, it is truly ironic that the death
        penalty and hell are reserved only to natural persons.
Western Tradition P'ship, Inc. v. Attorney Gen. of State, 271 P.3d 1, 36 (Mont. 2011) (Nelson, J.,
dissenting), cert. granted, judgment rev'd sub nom. Am. Tradition P'ship, Inc. v. Bullock, 132 S.
Ct. 2490, 183 L. Ed. 2d 448 (2012).

                       3. Corporations routinely use constitutional “rights” to deny
                          communities their right of local self-governance.

       Endowed by state and federal governments with constitutional rights, business

corporations wield those “rights” routinely to override the people’s right of local, community

self-government. Contemporarily, corporations have used their First41, Fifth42, and Fourteenth



not themselves members of “We the People” by whom and for whom our Constitution was
established. . . [today’s decision] is thus a rejection of the common sense of the American
people, who have recognized a need to prevent corporations from undermining self-government
since the founding. . .”); Burwell v. Hobby Lobby Stores, Inc., 134 S.Ct. 2751, 2802 (2014)
(Ginsburg, J., dissenting) (the “exercise of religion is characteristic of natural persons, not
artificial legal entities.”).
41
   In 2010, the Supreme Court invalidated federal campaign finance laws as violative of the
corporate “right” to free speech as a “person.” Citizens United v. Federal Election Commission,
558 U.S. 50 (2010); See International Dairy Foods v. Amestoy, 92 F.3d 67 (2nd Cir. 1996)
(nullifying a dairy labeling law in Vermont that violated the corporate “right” not to be
compelled to speak under the First Amendment); CTIA-The Wireless Association v. City and
County of San Francisco, No. 11-17707, No. 11-17773 (9th Cir., unreported memorandum
opinion, Sep. 10, 2012) (striking a City law requiring retail point-of-purchase warnings for health
risks from cellular telephone radio emissions as a violation of speech rights); First National Bank

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Amendment “rights” to nullify laws, which sought to protect the people’s health, safety, and

welfare. Corporations have also asserted rights under the Contracts43 and Commerce44 Clauses of

the U.S. Constitution to strike similar laws.

       Efforts to continue to apply corporate constitutional “rights” have been met with

increasing resistance in state courts. In 2013, in the Washington County, Pennsylvania Court of

Common Pleas in a case dealing with an oil and gas corporation’s attempt to shield a settlement

agreement from disclosure pursuant to the corporation’s Fourth Amendment “rights,” President

Judge O’Dell-Seneca declared that

       [t]here are no men or women defendants in the instant case; they are various business
       entities. . . These are all legal fictions, existing not by natural birth but by operations of
       state statutes. . . Such business entities cannot have been ‘born equally free and


of Boston v. Bellotti, 435 U.S. 765 (1978) (nullifying a state law banning corporate spending on
political referenda); Pacific Gas & Elec. Co. v. Public Utilities Comm’n, 475 U.S. 1 (1986)
(preventing utility ratepayers from using space within a utility’s monthly billing envelopes for
consumer communications); Central Hudson Gas & Electric Corp. v. Public Utilities Comm’n,
447 U.S. 557 (1980) (overturning regulations aimed at conserving electricity during the 1970’s
energy crisis); Jacobus v. State of Alaska, 338 F.3d 1095 (9th Cir. 2003) (banning states from
curtailing corporate participation in electoral activities as a violation of free speech rights).
42
   Pennsylvania Coal Co. v. Mahon, 260 U.S. 393 (1922) (overturning a Pennsylvania law - the
Kohler Act – which required coal operators to leave pillars of coal in place to prevent
subsidence, as violating the Fifth Amendment rights of coal corporations).
43
   See Dartmouth College v. Woodward, 4 Wheat. 518 (1816) (declaring that corporate charters
were contracts protected by the Constitution’s Contracts Clause, and therefore, that state
legislatures were prohibited from unilaterally altering those charters. Interestingly, the Court also
explained that municipal charters were not subject to the same prohibitions, thus enabling States
to alter laws governing municipal corporations at will).
44
   South Dakota Farm Bureau, Inc. et al., v. Hazeltine, 340 F.3d 583 (8th Cir. 2003) (using the
Commerce Clause to overturn South Dakota’s anti-corporate farming law, which banned
corporations from owning farmland or engaging in farming within the State); See Smithfield
Foods, Inc. v. Miller, 367 F.3d 1061 (8th Cir. 2003) (striking down laws regulating corporate
involvement in hog production); Synagro-WWT, Inc. v. Rush Township, 204 F. Supp. 2d 827
(M.D. Pa. 2002), 299 F. Supp. 2d 410 (M.D. Pa. 2003) (striking down laws intended to protect
residents from corporate-hauled land applied sewage sludge); H. P. Hood & Sons, Inc. v. Du
Mond, 336 U.S. 525 (1949) (striking down laws dealing with milk licenses intended to protect
competition and milk supply); Baldwin v. G.A.F. Seelig, Inc., 294 U.S. 511 (1935) (striking
down laws mandating milk dealer prices which were adopted to ensure economically viable
dairy farming).

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      independent,’ because they were not born at all. Indeed, the framers of our constitution
      could not have intended them to be “free and independent,” because, as the creations of
      the law, they are always subservient to it. . . In the absence of state law, business entities
      are nothing. Once created, they become property of the men and women who own them,
      and, therefore, the constitutional rights that business entities may assert are not
      coterminous or homogenous with the rights of human beings. . .Were they so, the chattel
      would become the co-equal to its owners, the servant on par with its masters, the agent
      the peer of its principals, and the legal fabrication superior to the law that created and
      sustains it. . . They cannot be ‘let alone’ by government, because businesses are but
      grapes, ripe upon the vine of the law, that the people of this Commonwealth raise, tend,
      and prune at their pleasure and need.
Hallowich v. Range Resources Corporation, et al., No. 2010-3954 (Wash. Co. 2013).45

       In addition to direct infringement of the right of local, community self-government—

through the nullification of local and state laws aimed at protecting health, safety, and welfare

and other civil and political rights—these assertions of corporate constitutional rights indirectly

deny the right of self-government by “chilling” the actions of state and local legislators. For

example, when Chemical Waste Management, Inc. successfully sued the State of Alabama on the

claim that the State’s differential taxation of out-of-state-generated hazardous waste violated the

corporation’s rights under the Commerce Clause46, the decision served to eliminate legislative

options in all states that sought to protect residents from the influx of out-of-state-generated

hazardous waste.

       V. The Ordinance is a lawful exercise of the right of local, community self-

government, and Plaintiffs’ claims must fail by operation of it.


       The Intervenors have shown the natural and historical basis for the fundamental right of

local, community self-government for the people of Mora. It remains only to show that

Plaintiffs’ claims are unavailable through a lawful exercise of the right via the Ordinance.



45
   In her opinion, Judge O’Dell Seneca held that corporations’ privacy interests were not
protected by the Pennsylvania Constitution’s Declaration of Rights.
46
   See Chemical Waste Management, Inc. v. Hunt, 504 U.S. 334 (1992).

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Intervenors do so here in three subsections. The first shows how the Ordinance codifies the

people’s political and civil rights. The second shows how the Ordinance bans corporate activity

that would violate those rights. And the third shows how the Ordinance alters the system of local

government in Mora County by eliminating doctrines of law that render the people unable to

secure and protect their rights.


                A. The Ordinance codifies political and civil rights for the people of Mora
                   County.

        The Declaration of Independence established that all governments of right inherently

derive their authority, that it, their actual powers, from the people of the community that the

government serves. And that it is the job of government to protect that people’s inherent,

inalienable political and civil rights to life, liberty, safety, and happiness. Federal and state

constitutions reaffirmed the legitimate role of government by protecting the fundamental rights

of the people in state and federal bills of rights. Those bills of rights enhanced the Declaration’s

framework of political and civil rights by articulating rights to freedom of speech and religion,

freedom from unreasonable searches and seizures, rights to due process and fair trials, freedom

from cruel and unusual punishment, rights to equal protection, and others.

        Now, pursuant to the Ordinance, Mora Countians have secured their right of local,

community self-government at the local level (Ordinance §§ 4.5, 4.6). And they have used the

right to articulate and codify certain additional fundamental rights:

        Section 4.1. Right to Water: All residents, natural communities and ecosystems in Mora
        County possess a fundamental and inalienable right to sustainably access, use, consume,
        and preserve water drawn from natural water cycles that provide water necessary to
        sustain life within the County.

        Section 4.2. Right of Water for Agriculture: All Mora County residents possess the
        fundamental and inalienable right to unpolluted natural water to produce healthy food, to




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       nourish our bodies, livestock and land and to continue “La Querencia de la Tierra,” Love
       of the Land.

       Section 4.3. Rights of Natural Communities: Natural communities and ecosystems,
       including, but not limited to, wetlands, streams, rivers, aquifers, and other water systems,
       possess inalienable and fundamental rights to exist and flourish within Mora County
       against oil and gas extraction….

       Section 4.4. Right to a Sustainable Energy Future: All residents, natural communities,
       and ecosystems in Mora County possess a right to a sustainable energy future, which
       includes, but is not limited to, the development, production, and use of energy from
       renewable fuel sources, and the right to have an energy system based on fuel sources
       other than fossil fuel sources. This right shall also include the right to energy practices
       that do not cause harm, and which do not threaten to cause harm, to people, communities,
       or the natural environment.…

       Section 4.7. Rights of La Querencia de la Tierra: The farm-based indigenous/mestizo
       (mixed blood) people who created the original Mora County culture considered the Earth
       to be living and holy; thus they referred to their homeland as “La Querencia de la Tierra.”
       Love of the Land. This sacredness connotes an intrinsic right of the land to exist without
       defilement.

Ordinance, §§ 4.1, 4.3, 4.2, 4.4, 4.7.

               B. The Ordinance bans corporate oil and gas extraction to protect the
                  peoples’ fundamental civil rights.

       To protect the rights secured by the Ordinance—both the core political right of local,

community self-government, and the various civil rights pertaining to water, natural

communities, energy, and land—the Ordinance next outlaws within the County the following

activity by corporations and their agents: extraction of oil, natural gas, or other hydrocarbons (§

5.1); extraction or importation of water and other substances for use in oil and gas extraction (§

5.2); depositing, storing, transporting, or processing within Mora County waste water and other

materials used in oil and gas extraction (§ 5.3); and construction or maintenance of infrastructure

for oil and gas extraction (§5.4).




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       The Ordinance makes clear in two places that the purpose of these bans on corporate

activity is to protect the political and civil rights of people secured by the Ordinance. The first

place is the express purpose of the Ordinance, which says:

       The People of Mora County recognize that water is essential for the life, prosperity,
       sustainability, and health of their community and that damage to natural groundwater and
       surface water sources imposes great tangible loss, to the People, natural communities and
       ecosystems of Mora County, not just for today but for future generations. The People of
       Mora County recognize that they may be forced, without their consent, to endure or
       attempt to repair harm inflicted on their environment and their vital water supply, which
       they have no equivalent governing authority to prevent under current state and federal
       law. The governing body of Mora County adopts this … Ordinance to overcome that
       liability, to provide for community health and safety, to promote a sustainable lifestyle,
       and to secure the comfort and convenience of the people. (§ 1.2)

The second place is in the Board’s legislative findings:

               WHEREAS, We recognize the Earth, water, and air as a source of life for all
       living in Mora County; and
               WHEREAS, We are convinced that the quality of life for residents of Mora
       County, for both the present and the future, will be destroyed if we allow at-risk
       exploitation and pollution of the Earth, water, and air; and
               WHEREAS, We the People of the County of Mora declare that we have the duty
       to safeguard the water both on and beneath the Earth’s surface, and in the process,
       safeguard the rights of people within the county of Mora and the rights of the ecosystems
       of which Mora County is a part; and
               WHEREAS, We the People of Mora County declare that all of our water is held
       in the public trust as a common resource to be used for the benefit of Mora residents and
       of the natural ecosystems of which they are a part. We believe that industrial use of water
       supplies in this county placing the control of water in the hands of a corporate few, rather
       than the county would constitute abuse and usurpation; and that we are therefore duty
       bound to oppose such abuse and usurpation. That same duty requires us to recognize that
       two centuries’ worth of governmental conferral of constitutional powers upon
       corporations has deprived people of the authority to govern their own communities, and
       requires us to take affirmative steps to remedy that usurpation of governing power; and
               WHERAS, we are conscious of the urgency of taking decisive action to protect
       our collective rights and the rights of future generations, and of ensuring a balanced
       environment for the survival of all residents of Mora County; THERFORE
               Be it Ordained by the Governing Body of Mora County, New Mexico…An
       Ordinance Protecting the Right of Human Communities, Nature, and Natural Water, By
       Establishing a Local Bill of Rights for Mora County that Protects the Natural Sources of
       Water from Damage Related to the Extraction of Oil, Natural Gas, or Other
       Hydrocarbons, By Affirming the Right to Local Autonomy and Self-Governance, and by
       Eliminating Legal Privileges and Powers from Corporations Violating the Ordinance.
       [Ordinance at whereas clauses; emphasis added]


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       Case law makes clear that this Court is bound to accept the Board’s purpose and

legislative findings as stated in the Ordinance when evaluating the lawfulness of the Ordinance.

Crider v. County of Boulder, 246 F.3d 1285 (10th Cir. 2001) (subjective intent of individual

local legislators irrelevant to Fourteenth Amendment substantive due process claim against

ordinance); Foley v. City of Las Vegas, 747 F.2d 1294 (9th Cir. 1984) (subjective intent of

individual local legislators irrelevant to First Amendment claim against ordinance).

               C. The Ordinance alters local government in Mora County by eliminating
                  doctrines of law that render the County incapable of protecting the
                  peoples’ fundamental political and civil rights.

       To prevent the political and civil rights secured by the Ordinance from being infringed by

nullification of the bans on corporate oil and gas extraction and related activity, the Ordinance

strips corporations of legal powers that enable them to nullify lawmaking, in five ways. First,

corporations violating or seeking to engage in activity banned by sections 5.1 through 5.4 shall

not be afforded the constitutional rights or protections of persons under the U.S. and New

Mexico Constitutions (§5.5). Second, corporations and their agents violating or seeking to

engage in activity banned by sections 5.1 through 5.4 shall not have power to wield the doctrine

of preemption or otherwise to challenge the Ordinance when such a challenge would interfere

with the rights protected by the Ordinance or the authority of the County to protect the health,

safety, and welfare of residents (§5.6). Third, corporations and their agents may not use federal

or state permits, licenses, privileges, or charters to violate bans in or rights protected by the

Ordinance (§5.7). Fourth, federal and state bills of rights are preemptive law in Mora County

only to the extent that they are not inconsistent with the Ordinance’s provisions on corporate

powers and rights, and only to the extent that they do not elevate property interests over rights




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secured by the Ordinance (§5.8). Fifth and finally, federal and state law shall be preemptive

within Mora County only when they are both expressly preemptive and provide greater

protection of the people’s health, safety, and welfare than the County law to be preempted (§5.9).

       Prior to enactment of the Ordinance, the only political and civil rights county government

could secure for the people of Mora were those that could be enforced without interfering with

corporate constitutional “rights.” If plaintiffs are allowed to use constitutional “rights” and

preemption to override bans meant to protect the people’s fundamental political and civil rights,

Mora County’s community bill of rights becomes worthless, because rights-infringing activities

then would be allowed to proceed. Thus the paper rights of a species of property would render

the government of Mora County unable to secure and enforce the fundamental rights of the

people. Vindicating corporate “rights” automatically usurps the ability of county government to

protect the peoples’ rights. Our system of law may enforce one set of rights or the other; but the

system cannot enforce both. It is this conflict that inevitably, and unconstitutionally, restricts and

constrains the ability of the county government to secure the people’s civil rights.

       It is evident from the text of the Ordinance in its legislative findings, purpose, and

statements of law, that the County Board of Commissioners fully understood this legal reality

when enacting the Ordinance. It understood that the doctrine of corporate constitutional “rights”

would enable corporations to nullify corporate bans deemed necessary for protection of the

people’s political and civil rights. And it understood that under the right of local, community

self-government, the people have the right and duty to alter a system of local government that is

unable to protect their rights. So through the Ordinance, the people altered county government in

Mora by stripping corporations of the ability to use constitutional rights to challenge and nullify

the bans imposed by the Ordinance. The sections of law in the Ordinance that accomplish this




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are narrowly applied, only to corporations and their agents engaged in or seeking to engage in

oil and gas extraction or related activity, and only to prohibit a certain category of corporate

constitutional “rights.” Without these sections, the people of Mora County—under the prior

system of county government constricted by corporate “rights” would be stranded with a local

bill of rights they could neither assert nor enforce. Rejecting that unacceptable scenario, the

people of Mora County have altered their old, illegitimate system of county government, and

replaced it with a new, legitimate one.

        VI. Conclusion. The Plaintiff’s Complaint asserts constitutional causes of action

against the Defendants to nullify the Ordinance [Doc 1]. Because those claims are

unavailable by operation of the Ordinance and the Constitutional Law on which the

Ordinance is based, the Intervenor Defendants are entitled to dismissal of those claims as a

matter of law.

        For the reasons asserted herein, the Intervenor Defendants are entitled to dismissal of the

instant action.

        Respectfully submitted this 3rd Day of January, 2016.


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                               CERTIFICATE OF SERVICE

I, Jeffrey H. Haas, Attorney at Law hereby certify that on the 3rd day of January 2015, the

foregoing was filed electronically through the CM/ECF system, which caused the following

counsel to be served by electronic means.




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